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A                                                                            A

                                                        HCA 1492/2018
B                                                                            B
                                                      [2025] HKCFI 408
C                     IN THE HIGH COURT OF THE                               C

          HONG KONG SPECIAL ADMINISTRATIVE REGION
D                                                                            D
                       COURT OF FIRST INSTANCE
E
                         ACTION NO 1492 OF 2018                              E
                              ________________
F                                                                            F
    BETWEEN
G                                                                            G
       NHD SYSTEMS (ASIA) LIMITED (IN LIQUIDATION)               Plaintiff

H                                   AND                                      H


I      LI XIAO YI                                              Defendant     I


J
                              ________________                               J


K
    Before: Hon Harris J in Court                                            K
    Dates of Hearing: 14 – 15, 17 October 2024
L                                                                            L
    Date of Judgment: 17 October 2024
M   Dates of Further Written Submissions: 29 November and 27 December        M
    2024
N   Date of Reasons for Judgment: 21 January 2025                            N


O                   __________________________________                       O


P
                    REASONS FOR JUDGMENT                                     P
                    __________________________________
Q                                                                            Q

    Introduction
R                                                                            R

                The Plaintiff, which between April 1988 and February 1993
S                                                                            S
    was called Lee Siu-Fung & Co. Limited (“Company”), was placed into
T   compulsory liquidation by order of the court dated 9 May 2000.           T


U                                                            Defendant's     U

                                                              EX. 11
V                                                                            V
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A                                                                                 A


B   The first liquidators were Gabriel Tam and Alan Tang of KPMG.                 B

    In November 2001 Mr Tang left KPMG and subsequently ceased to be
C                                                                                 C
    one of the liquidators.   By an order dated 2 June 2016 Mr Tang was
D   reappointed, together with Terry Kan, as a Liquidator of the Company          D

    replacing KPMG. Mr Tang remains a liquidator and gave evidence on
E                                                                                 E
    behalf of the Company at the trial of the Company’s claim, which I explain
F   later. I dismissed the Action on hearing the Defendant’s no case to answer    F

    submission following close of the Company’s case as in my view the claim
G                                                                                 G
    had clearly not been established. These are my reasons for doing so.
H   However, these reasons goes further than explaining why the Company has       H

    clearly failed to prove its claim. Most of it concerns the conduct of the
I                                                                                 I
    case by Mr Tang, his evidence in his affirmations, witness statements and
J   in cross-examination, the duties of a liquidator and more generally the       J

    importance of witnesses taking their obligation to give honest evidence
K                                                                                 K
    seriously and the damage done to the integrity of the trial process if
L   witnesses do not do so.                                                       L


M                                                                                 M
    Background
N                                                                                 N
                 As the brief chronology in the previous paragraph suggests,
O   the claim which I must determine arose many years ago. In June 1992 the       O

    Defendant participated in the establishment of Lee Siu-Fung USA Corp
P                                                                                 P
    (“SF Corp”). At the time he was resident in Ann Arbor in Michigan
Q   having completed his post-graduate education in the United States. He         Q

    became the principal officer of SF USA. At about the same time he became
R                                                                                 R
    a director of the Company and also the corporate vehicle, which was
S   subsequently used by his brother (Siegfried) to undertake an initial public   S


T                                                                                 T


U                                                                                 U


V                                                                                 V
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                                    - 3 -
A                                                                              A


B   offering as the holding company for the business group of which the        B

    Company formed part.
C                                                                              C


D              Following his reappointment as the liquidator Mr Tang           D
    became aware of the following documents amongst the records of the
E                                                                              E
    Company:
F                                                                              F
         (1)   A document headed “Loan Agreement” dated 1 July 1992 and

G
               signed by Siegfried in which the Defendant is named as the      G
               borrower of a loan of US$1 million, but which the Defendant
H              has not signed. The document provides that in exchange for      H

               the loan the Company would own 50% of SF USA. It also
I                                                                              I
               provides that “The Loan will carry a term of 20 years with 5%
J              interest and repayment of this loan will be initiated 5 years   J
               after the execution of this agreement.”
K                                                                              K
         (2)   A fax dated 18 August 1992 from the Defendant to Angela
L              Chan said to consist of 4 pages attaching an unsigned consent   L

               of directors authorising the Loan and a copy of the Loan
M                                                                              M
               Agreement, which neither party had signed.         What the

N
               Company has produced only consists of 3 pages. It is unclear    N
                           th
               what the 4 page was, assuming that 4 pages were sent and
O              the cover page is not incorrect in describing the number of     O

               pages of which it consisted.
P                                                                              P
         (3)   A signed copy of the consent of directors to the Loan.
Q                                                                              Q
         (4)   A letter or fax signed by Daniel Chan, the accounting manager
R              of the Company, dated 9 September 1992 to the Defendant         R
               enclosing a copy of the Loan Agreement, the consent of
S              directors, the Company’s articles of incorporation and          S

               certificate of incorporation, the Company’s last 5 years of
T                                                                              T
               financial statements and copies of the Company’s brochure.
U                                                                              U


V                                                                              V
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                                         - 4 -
A                                                                                   A


B               In 2017 Mr Tang asked the Defendant for an explanation for          B

    the transaction he assumed was recorded in these documents. This was
C                                                                                   C
    some 25 years after the date of the Loan Agreement. Dr Li said he could
D   not recall how the matter had developed, but he did not think that he had       D

    received a loan. If the loan contemplated in the Loan Agreement had not
E                                                                                   E
    been concluded in my view it would be unsurprising that after such a long
F   period Dr Li would have little recollection of it and would have retained       F

    no relevant documents. The obvious thing for Mr Tang to have done would
G                                                                                   G
    have been to ask his staff to check the documents, consisting of 350 box
H   files, of which he had come into possession when he was reappointed as          H

    liquidator to see if the Company’s ledgers or bank statements showed the
I                                                                                   I
    loan contemplated by the Loan Agreement that Dr Li had never signed
J   being advanced. Mr Tang did not do this. It was his evidence that he was        J

    advised that the documents to which I have referred were sufficient to
K                                                                                   K
    prove that Dr Li owed the Company US$1 million plus interest. The
L   Company issued the present proceedings by writ on 27 June 2018.                 L


M                                                                                   M
    The Claim
N                                                                                   N
                The Amended Statement of Claim pleads that Dr Li accepted
O   the terms of the Loan. Agreement in paragraph 5 as follows:                     O


P               “On 16th September 1992, the Defendant acknowledged receipt         P
                Mr. Chan’s letter of 9th September 1992, including consent from
                all directors of the Plaintiff for execution of ‘a loan agreement
Q                                                                                   Q
                reached by Lee Siu-Fung & Co. Ltd (name of Plaintiff at the
                time) and Dr. Xiao Yi Li dated 1st July 1992 and to provide Dr.
R               Xiao Yi Li a personal loan in the amount of US$1,000,000 ‘in        R
                exchange. for 50% ownership of Lee Siu-Fung USA Corp’
                (‘Personal Loan’). The Defendant, by acknowledging and
S               receiving the documents aforesaid is deemed to have accepted        S
                the terms and conditions stated therein. This loan ‘will carry a
T               term of 20 years with 5% interest and ‘repayment’ of this loan      T
                will be initiated from 5th years after the execution of this Loan

U                                                                                   U


V                                                                                   V
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                                         - 5 -
A                                                                                  A


B
                 agreement. The Defendant, by his subsequent conduct, acted on     B
                 the terms and effects of the Loan Agreement.”

C                                                                                  C
                 In paragraphs 6 and 7 of the Amended Statement of Claim
D   there is reference to further documents, but they do not refer to the loan,    D

    they concern the setting up of SF USA and the funding of its capital.
E                                                                                  E


F                In his Re-Amended Defence Dr Li pleads that his primary           F

    position is that he no longer recalls the matters referred to in the Amended
G                                                                                  G
    Statement of Claim. Dr Li denies that the documents relied on by the
H   Company prove that he had agreed to take a loan from the Company or that       H

    he had in fact received one. His defence was buttressed by the argument
I                                                                                  I
    that the Company was a subsidiary of Siu Fung Ceramics Holdings
J   Limited in 1993 when it was listed. Dr Li was a director at that time of       J

    both the Company and Siu Fung Ceramics and this being the case any
K                                                                                  K
    outstanding loan to him should have been recorded in the audited
L   consolidated financial statements of Siu Fung Ceramics included in the         L

    prospectus for Siu Fung Ceramics’s initial public offering in 1993. It was
M                                                                                  M
    not. Mr Tang agreed, after pressing, in cross-examination that this was
N   correct. The obvious inference to be drawn is that at the time of the IPO      N

    Dr Li did not owe the Company anything.
O                                                                                  O


P                In his first witness statement made in October 2021 Dr Li         P

    explains that he does not recall a loan being advanced to him by the
Q                                                                                  Q
    Company in 1992. He points out that it is surprising that the Company has
R   not produced any accounting documents such as ledgers or audited or            R


S
    unaudited accounts, which support the claim. He also points out that if the    S
    Loan Agreement has been made then 50% of the shares in SF USA should
T                                                                                  T


U                                                                                  U


V                                                                                  V
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                                       - 6 -
A                                                                                  A


B   have been transferred to the Company. There is no evidence of this taking      B

    place.
C                                                                                  C


D                In his supplemental witness statement Dr Li explains that to      D
    the best of his recollection the initial funding for SF USA was provided by
E                                                                                  E
    his Parents. Although, Dr Li did not give evidence and, therefore, I have
F   no regard to this evidence in assessing the Company’s claim, it is relevant    F

    in so far as it alerted Mr Tang to a possible, and exculpatory, explanation
G                                                                                  G
    why the Loan Agreement was not signed by Dr Li and he did not recall
H   receiving a loan. It was an additional reason to consider carefully whether    H

    the claim had merit. Plainly Mr Tang should have investigated the matter
I                                                                                  I
    further to see whether the banking records and the accounts of the
J   Company shed further light on whether or not a loan had been advanced.         J

    As this is a writ action the parties undertook general discovery and as part
K                                                                                  K
    of that process Mr Tang should have caused a search for such documents
L   to have been undertaken. It was his evidence that he did not. His excuse       L

    was that he did not understand that the Company’s discovery obligations
M                                                                                  M
    required him to do so. I will return to this matter in some detail later.
N   Suffice it to say that I do not accept Mr Tang’s evidence, which I am of the   N

    view was, like much of the rest of it, dishonest.
O                                                                                  O


P                In the absence of any evidence other than the documents I         P

    have referred to in [3] and, the Company’s formulation of its claim in [5]
Q                                                                                  Q
    of the Amended Statement of Claim, what I have to determine is whether
R   by acknowledging receipt of the documents enclosed with the letter of          R

    9 September 1992, Dr Li became bound by the Loan Agreement and is
S                                                                                  S
    liable to pay the amount of the loan, to which the Loan Agreement refers.
T   The principles on implying a contract by conduct are well established and      T


U                                                                                  U


V                                                                                  V
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                                                  - 7 -
A                                                                                        A


B   are to be found in the decision of the Court of Final Appeal in Shanghai             B

    Tongji Science & Technology Industrial Co Ltd v Casil Clearing Ltd1 and
C                                                                                        C
    the judgment of Ribeiro PJ. They can be summarised as follows:
D                                                                                        D
              (1)     The burden of establishing such a contract is on the party
E
                      asserting its existence. The Court will not imply such a           E
                      contract lightly: Shanghai Tongji [38].
F                                                                                        F
              (2)     It is necessary to show that the conduct relied upon is
G                     “unequivocally referable” to the alleged contract sought to be     G
                      inferred, in the sense that the conduct is consistent only with
H                     there being the contract sought to be implied and inconsistent     H

                      with there being no such contract: Shanghai Tongji [38]-[39].
I                                                                                        I
                      It will be fatal to the implication of a contract if the parties
J                     had or might have acted exactly as they did in the absence of      J

                      a contract: Shanghai Tongji [38], referring to The Aramis2.
K                                                                                        K
              (3)     The requirement of unequivocally is such that it is not enough
L                     to show that the parties have done something more than, or         L

                      something different from, what they were already bound to do
M                                                                                        M
                      under obligations owed to others. What they do must be
N                     consistent only with there being a new contract implied, and       N
                      inconsistent with there being no such contract: Shanghai
O                     Tongji [39], [48].                                                 O


P                                                                                        P
                      Although the documents indicate that at some point in time

Q   the parties envisaged the possibility of a loan being advanced to Dr Li, their       Q

    language and the manner in which they came to be exchanged do not
R                                                                                        R
    demonstrate that the discussions resulted in a concluded agreement. They
S   are clearly equivocal and are as consistent with an agreement having been            S


T   1                                                                                    T
          (2004) 7 HKCFAR 79.
    2
          [1989] 1 Lloyd’s Rep 213, 224 (Bingham LJ).
U                                                                                        U


V                                                                                        V
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A                                                                                                                 A


B   discussed and then abandoned as they are consistent with an agreement                                         B

    being concluded and a loan advanced.
C                                                                                                                 C


D                      In these circumstances, I invited Mr Man to consider making                                D
    a no case to answer submission, which he did. I have recently explained
E                                                                                                                 E
    the how the court should deal with a no case to answer submission in Re
F   T-Hero Industrial Company Ltd3. It is a two-stage process: First, the court                                   F

    will determine whether the plaintiff has demonstrated a prima facie case
G                                                                                                                 G
    for the defendant to answer; and, if so, secondly, the court will then decide
H   whether the plaintiff’s case is established on the balance of probabilities,                                  H

    having regard to (a) the plaintiff’s evidence and (b) the available
I                                                                                                                 I
    documentary evidence, but without regard to the defendant’s witness
J   statement.                                                                                                    J


K                                                                                                                 K
    Disposition
L                                                                                                                 L
                       In my view even assuming that the Company demonstrated a
M   prima facie case (in my view it did not) it is clear that its evidence has                                    M

    failed to prove its case on the balance of probabilities and I so find4. Not
N                                                                                                                 N
    only are the documents relied on by the Company equivocal I agree with
O   Mr Man that the absence of any reference to a loan in the financial                                           O

    statements, which formed part of the prospectus for the IPO is consistent
P                                                                                                                 P
    with such a loan not having been advanced, which Mr Tang, who is, of
Q   course, an accountant conceded during cross-examination. No reason has                                        Q

    been advanced by the Company for the loan having been omitted if it had
R                                                                                                                 R
    been made and was outstanding. A loan to Dr Li’s brother, who was an
S                                                                                                                 S

    3
          [2023] HKCFI 3118, [29]–[32].
T   4                                                                                                             T
          Although I had read Dr Li’s witness statement prior to the trial I have had no regard to his evidence
          in determining the matter.
U                                                                                                                 U


V                                                                                                                 V
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A                                                                                       A


B   executive director of Listco is disclosed. It seems to me that the obvious          B

    inference is that there is no reference to the loan, because it had either never
C                                                                                       C
    been advanced or had been repaid. Dr Li had pleaded this point in his
D   defence and I would have expected Mr Tang to have looked into it. It was            D

    clear from his evidence that he had not done so.            Initially in cross-
E                                                                                       E
    examination he suggested that it was unclear that the Company was a
F   subsidiary of Listco, apparently because he had not bothered to ascertain           F

    that Dr Li was correct and that it was included in the schedule of
G                                                                                       G
    subsidiaries in the prospectus, but under its previous name.
H                                                                                       H

                  I dismissed the Action. Mr Man invited me to reserve the
I                                                                                       I
    costs. Mr Man did so in order that consideration could be given by Dr Li’s
J   legal team for applying for a costs order against Mr Tang personally or             J

    possibly the litigation funder, who it became apparent during Mr Tang’s
K                                                                                       K
    cross-examination had funded the litigation. I reserved the costs. As I
L   indicated at the end of the trial, I am inclined to order that the costs are paid   L

    on an indemnity basis given the Company’s conduct, in practice Mr Tang’s
M                                                                                       M
    conduct, of the claim. It is that conduct and Mr Tang’s evidence which I
N   now turn to consider in detail.                                                     N


O                                                                                       O
    Mr Tang
P                                                                                       P
                  The court expects and requires the parties to litigation to
Q   conduct legal proceedings honestly and in accordance with the rules on              Q

    which they should be properly advised by their lawyers. Witness evidence
R                                                                                       R
    and cross-examination are a central feature of the trial process and it is
S   difficult to envisage a witness, who does not understand that they are meant        S

    to tell the truth even if they fail to do so whether out of a conscious decision
T                                                                                       T
    to lie or because of unreliability of memory or psychological factors that
U                                                                                       U


V                                                                                       V
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                                              - 10 -
A                                                                                             A


B   influences how they recall or interpret past events. One category of litigant             B

    and witness in particular should be under no illusion about what is required:
C                                                                                             C
    the Court’s own officers. The Court’s officers should also appreciate that
D   the standards expected of them goes further than strict compliance with the               D

    rules. By virtue of the office that they hold, they are expected to carry out
E                                                                                             E
    their duties fairly and with integrity. David Richard LJ (as he then was)
F   explains this in Lehman Brother Australia Ltd (In Liquidation) v                          F

    MacNamara5:
G                                                                                             G

                     “The principle established by the decision of the Court of Appeal
H                    in Ex parte James is that the court will not permit its officers to      H
                     act in a way which, although lawful and in accordance with
                     enforceable rights, does not accord with the standards which
I                                                                                             I
                     right-thinking people or, as it may be put, society would think
                     should govern the conduct of the court or its officers. The
J                    principle applies to a failure to act, as much as to positive            J
                     acts……. As a public authority and given its role in society, the
                     court is expected to apply standards to its own conduct which
K                    may go beyond bare legal rights and duties.”                             K


L                                                                                             L
                     I agree with Mr Man that if one of its officer’s conduct

M
    appears to fall short of these standards, and particularly if it appears that an          M
    officer of the Court had not complied with fundamental legal rights and
N                                                                                             N
    duties, the conduct should be scrutinised by the Court and that it is in the

O   public interest that the conduct is made public in a judgment of the Court.               O


P                                                                                             P
                     At the end of the trial, I informed counsel that I would call for

Q   a transcript of Mr Tang’s evidence in order and invite further submissions                Q
    in order to ensure that my assessment of his evidence was based on an
R                                                                                             R
    accurate record of what he said. What follows has been prepared with the
S   benefit of the transcript and further submissions.                     It addresses the   S


T                                                                                             T
    5
        [2021] Ch 1, [35].
U                                                                                             U


V                                                                                             V
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                                      - 11 -
A                                                                                 A


B   Company’s (in practice Mr Tang) breach of the Company’s disclosure            B

    obligations, and Mr Tang’s failure to advance the claim fairly.
C                                                                                 C


D                Mr Tang was appointed as special manager on 9 May 2000 i.e.      D
    some 5 months prior to his appointment as one of the Liquidators on
E                                                                                 E
    27 October 2000. Therefore, prior to his resignation in November 2001
F   and reappointment in 2016, Mr Tang would already have had at the very         F

    least, 13 months to conduct investigations into the affairs of the Company.
G                                                                                 G


H                Mr Tang accepted that the standard operating practice for        H
    experienced liquidators upon appointment as liquidator of a company
I                                                                                 I
    would be to obtain the accounts of that company. He also accepted that
J   this would have “likely” taken place during the first 13 months following     J

    his appointment, and that the accounts could have been readily obtained
K                                                                                 K
    from the auditors of the Company and hence were within the liquidators’
L   power to obtain.                                                              L


M                                                                                 M
                 Accordingly, the Company’s audited accounts (at least those
N   between 1993 and 2000) were very likely to have been secured by the           N

    Liquidators (whether by Mr Tang or his successors) at some stage around
O                                                                                 O
    2000, and at the very least before 2018. Further, they are likely to have
P   been within the 350 boxes of documents secured by Liquidators following       P

    their appointment, which Mr Tang accepted have been in their possession
Q                                                                                 Q
    since 2000, some 18 years prior to the commencement of these proceedings.
R   Consequently, the Company’s accounts for at least 1993 to 2000 (and           R

    indeed, other documents relevant to these proceedings) are very likely to
S                                                                                 S
    have been in Liquidators’ possession, custody or power since 2000.
T                                                                                 T


U                                                                                 U


V                                                                                 V
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                                        - 12 -
A                                                                                  A


B                Notwithstanding the above, the Liquidators took a deliberate      B

    decision not to review the 350 boxes of documents to identify (let alone
C                                                                                  C
    disclose) all the relevant documents:
D                                                                                  D
          (1)    Mr Tang explained that he did not go through the documents
E
                 “in any great detail” due to lack of funding and as those         E
                 documents were “disorganised”.
F                                                                                  F
          (2)    He also said he took a “commercial decision” not to
G                investigate in any detail as he thought he had sufficient         G
                 evidence to bring the claims herein.
H                                                                                  H

                 I agree with Mr Man that this explanation is disconcerting. It
I                                                                                  I
    resulted in an officer of the Court affirming that he has breached discovery
J   obligations for “commercial reasons”. Upon being pressed during cross-         J

    examination, Mr Tang accepted that the Company had failed to disclose all
K                                                                                  K
    relevant documents in its possession, power and custody and that the scope
L   of discovery obligations was not excused by the Liquidators’ lack of           L

    funding. While he stopped short of expressly admitting that the Company
M                                                                                  M
    had breached its discovery obligations by failing to go through the 350
N   boxes of documents to locate the Company’s accounts and ledgers , it is        N

    plain that he has no answer to the suggestion that he did. This is clearly a
O                                                                                  O
    case where the Court has knowingly not been presented with a full picture
P   due to missing documents which could have been expected to exist and be        P

    produced.
Q                                                                                  Q


R                I accept it is likely that:                                       R


S         (1)    Had the Company’s accounts been produced, they could (and         S

                 most likely would) have bolstered Dr Li’s case that the alleged
T                                                                                  T
                 loan was not recorded; and
U                                                                                  U


V                                                                                  V
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                                       - 13 -
A                                                                                    A


B         (2)    All relevant documents been produced and the Court been             B

                 presented with the full picture, they would have shown that
C                                                                                    C
                 the parties had decided not to go ahead with the loan
D                arrangement which they had originally contemplated.                 D


E                Mr Tang ultimately accepted that it is “overwhelmingly likely”      E

    that the alleged loan had not been disclosed in the Company’s accounts,
F                                                                                    F
    since: (i) directors’ loans would have been recorded in the Company’s
G   accounts (and indeed, in the consolidated accounts of ListCo); (ii) directors’   G

    loans would be regarded as “low hanging fruit” in terms of recovery actions
H                                                                                    H
    in 2000, since the relevant directors would have signed off on the accounts;
I   and (iii) if the Liquidators wanted to chase down the directors’ loan for        I

    repayment, it would be quite easy to do so in 2000 by checking it against
J                                                                                    J
    the relevant subsidiaries’ account.
K                                                                                    K

                 Mr Tang accepted that he did, in his capacity as a liquidator
L                                                                                    L
    of the Company, have a duty to act fairly in the presentation of the
M   Company’s case, yet it is obvious that he has failed to do so. In addition       M

    to the blatant breaches of his disclosure obligations highlighted above, I
N                                                                                    N
    accept that it is clear that Mr Tang gave dishonest evidence to the Court
O   under oath on numerous occasions.                                                O


P                                                                                    P
                 I find that Mr Tang has lied on affirmation in respect of the
Q   following matters. First, Mr Tang affirmed in Tang 6th that the Company          Q

    may have had in its custody possession and power its financial statements
R                                                                                    R
    and management accounts in 1992 to 1999, but had “subsequently lost
S                                                                                    S
    possession of the same, following the collapse and liquidation of the Siu

T
    Fung Group of Companies in 2000”. He repeated this assertion in cross-           T


U                                                                                    U


V                                                                                    V
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                                       - 14 -
A                                                                                    A


B   examination. This cannot be the case. Mr Tang simply could not have              B

    known whether, if the documents were once in the Company’s power,
C                                                                                    C
    possession or custody, they were subsequently lost, given that neither he
D   nor his staff had ever gone through the 350 boxes of files. Also, it was         D

    impossible for him to believe that the accounts were lost “following the
E                                                                                    E
    collapse and liquidation of the Siu Fung Group of Companies in 2000”.
F   There is simply no reason to believe that the KPMG liquidators (or               F

    Mr Tang himself) would have lost these accounts after they were appointed.
G                                                                                    G


H                Second, Mr Tang gave evidence that he had read the accounts         H

    and general ledgers of the Listco, but not the Company, regarding his letter
I                                                                                    I
    to Dr Li of 29 November 2000. It is highly improbable that Mr Tang
J   would have studied the accounts and ledgers of the Listco (a holding             J

    company of the Group) and not the Company (a key operating subsidiary
K                                                                                    K
    of the Group).
L                                                                                    L

                 Third, when asked about whether he had gone through the
M                                                                                    M
    350 boxes of documents stored in the Godown (and the reason for not doing
N   so), Mr Tang answered that he may have “misunderstood” his duties and            N

    cast the blame onto his legal team (“[t]o a large extent I have been relying
O                                                                                    O
    on to seek my legal team and legal advice on these matters”). In my view
P   this plainly a fabrication. It is inconceivable that a highly experienced        P

    liquidator like Mr Tang (and who all along had been legally advised) could
Q                                                                                    Q
    have misunderstood the scope of the Liquidators’ discovery obligations.
R   He could not have honestly believed that as a litigant, all he had to disclose   R

    were documents which were referred to in his pleadings and witness
S                                                                                    S
    statements. This is inconsistent with Mr Tang having prepared or seen
T                                                                                    T


U                                                                                    U


V                                                                                    V
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A                                                                                    A


B   many lists of documents in cases, which would include documents not              B

    referred to in witness statements or pleadings.
C                                                                                    C


D                   Fourth, when asked about the non-disclosure in the               D
    Prospectus of the alleged loan, Mr Tang suddenly made the assertion (for
E                                                                                    E
    the first time in the entire proceedings) that the Company was not part of
F   the Siu Fung Group as at the date of the Prospectus. This is inconsistent        F

    with the Company’s pleaded case: see “[the Plaintiff] is a major operating
G                                                                                    G
    subsidiary company within the Siu Fong Group of companies, led by the
H   then listed Siu Fung Ceramics Holdings Limited”6).                               H


I                                                                                    I
                    This is also wholly unbelievable. Mr Tang accepted that a list
J   of previous names of the Company would have been obtained from a                 J

    companies search, and would be an easily accessible document in his files.
K                                                                                    K
    I do not believe that Mr Tang was mistaken as to the name of the Company.
L   When pressed further as to why he had not made this point earlier, Mr Tang       L

    claimed that he was busy and had not read either the Company’s or Dr Li’s
M                                                                                    M
    written opening submissions, or listened carefully to Dr Li’s oral opening
N   submissions (he was in Court) and so never realised that all parties were        N

    proceeding on the factual premise that the Company was part of the Siu
O                                                                                    O
    Fung Group as at the listing of Listco in 1993.
P                                                                                    P

                    Fifth, when it was suggested to Mr Tang that he could not
Q                                                                                    Q
    have been unaware of the fact that the Company was part of the Siu Fung
R   Group given that its name, Siu Fung Strategy, was listed in the Prospectus       R

    as one of the Listco’s subsidiaries, Mr Tang said that “maybe what my staff
S                                                                                    S
    produced to me was the 1992 return showing the names of the 3 individuals
T                                                                                    T
    6
        [1.5] Amended Statement of Claim.
U                                                                                    U


V                                                                                    V
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B   as we saw this morning”. This is not credible. It is highly unlikely that       B

    when Mr Tang instructed his staff to tell him whether the Company formed
C                                                                                   C
    part of the Siu Fung Group in 1993, they would have brought him the
D   Company’s Annual Return for 1992 and that no one would appreciate the           D

    error.
E                                                                                   E


F                  On Mr Tang’s own admission the Liquidators had also              F

    breached their discovery obligations in fundamental ways:
G                                                                                   G

             (1)   As stated above, after being pressed in cross-examination,
H                                                                                   H
                   Mr Tang effectively had to accept that he had not disclosed

I
                   relevant documents in the Company’s possession, power and        I
                   custody.
J                                                                                   J
             (2)   In an attempt to explain himself, Mr Tang gave inconsistent

K
                   and contradictory explanations as to his understanding of the    K
                   scope of a liquidator’s duties:-
L                                                                                   L
                   (a)   At first, Mr Tang accepted that the obligation pertains
M                        to the disclosure of all relevant documents.               M

                   (b)   The next day, Mr Tang changed his position and
N                                                                                   N
                         claimed that he had misunderstood a liquidators’ duties,
O                        which was to disclose merely documents that are            O
                         expressly referred to in his witness statement and/or
P                        affirmations.                                              P


Q                  (c)   After being pressed by Leading Counsel and the Court,      Q
                         as to the inconsistency between his evidence and the
R                                                                                   R
                         lists of documents the Company had filed, their scope
                         clearly extending beyond what he had claimed,
S                                                                                   S
                         Mr Tang changed his evidence and claimed that he
T                        understood a liquidator’s disclosure obligations to        T


U                                                                                   U


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B                        extend also to known documents he knew existed            B

                         which he could “name”.
C                                                                                  C

                   This is simply not credible. Mr Tang started in corporate
D                                                                                  D
    insolvency work in KPMG in 1986.            He became a partner and an
E   appointment takers in KPMG since 1997. He said he had been involved in         E

    tens of High Court cases. He is a deeply experienced litigant. He has been
F                                                                                  F
    represented by numerous solicitors. It is incredible that he would, in 2024,
G                                                                                  G
    be so fundamentally mistaken in his understanding of discovery

H
    obligations.                                                                   H


I                  Mr Tang’s failure to act fairly is made more objectionable as   I


J
    the Company seeks to recover an alleged loan dating back more than             J
    32 years ago and in respect of which the agreement was unsigned by Dr Li.
K                                                                                  K
    This is plainly not a situation where one would expect the Defendant to

L
    recall the salient events or to be in possession of the relevant documents.    L
    Meanwhile the Liquidators had possession of 350 boxes of documents that
M                                                                                  M
    they did not go through, and as we know from the uncovering of the bank

N   statements, contained documents going back to 1992.                            N


O                                                                                  O
    Conclusion

P                                                                                  P
                   Mr Tang is no stranger to controversy. He has been the

Q
    subject of a disqualification application made by the Official Receiver and    Q
    also a finding of contempt for failing to comply with his discovery
R                                                                                  R
    obligations. Although he was not disqualified his conduct has been subject

S   to serious criticism by a number of judges. That he should be subject to       S
    yet another judgment in which the court has found he has fallen materially
T                                                                                  T
    short of his duties to the Court demonstrates a belligerent indifference to
U                                                                                  U


V                                                                                  V
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B   the standards required of him. His conduct in the present case is all the         B

    more objectionable because he has shown a shocking indifference to his
C                                                                                     C
    affirmation to tell the truth. I have referred to the affirmation that he filed
D   purporting to describe the disclosure undertaken by the Company. It was           D

    plainly a lie as I have no doubt was much of his evidence before me. It is
E                                                                                     E
    totally unacceptable for an officer of the court to show such contempt for
F   the integrity of the trial process.                                               F


G                                                                                     G
                  I will refer this matter to the Official Receiver for her to
H   consider commencing disqualification proceedings against Mr Tang,                 H

    which should, if they are issued, be listed before me in the first instance.
I                                                                                     I
    Until the Official Receiver has determined whether to make such an
J   application, and if she does, it has been determined in my view it would be       J

    inappropriate for Mr Tang to be appointed as a liquidator or receiver by the
K                                                                                     K
    Court.
L                                                                                     L

                  I would also note this. Mr Tang was one of two Liquidators.
M                                                                                     M
    As I note in [1] the other being Terry Kan. I appreciate that working with
N   Mr Tang must be challenging; indeed I recall telling Mr Kan this in Court         N

    during a hearing of another matter. However, Mr Kan owed a duty to the
O                                                                                     O
    Court to ensure the liquidation was conducted properly. If that meant
P   having to challenge Mr Tang’s conduct, it was his obligation to do so.            P

    Mr Kan’s failure to protect the integrity of the insolvency process is made
Q                                                                                     Q
    all the more objectionable by the fact that he was until recently the
R   Chairman of the Hong Kong Institute of Certified Public Accountant’s              R

    Restructuring and Insolvency Faculty.          I will leave it to the Official
S                                                                                     S
    Receiver to decide what, if any, action her Department wishes to take
T   against Mr Kan, but I will send this judgment to the Institute with a view        T


U                                                                                     U


V                                                                                     V
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B   to it taking disciplinary proceedings against Mr Kan, his conduct, albeit   B

    possibly mainly by omission, has brought the accountancy profession into
C                                                                               C
    serious disrepute.
D                                                                               D


E                                                                               E
                                                 (Jonathan Harris)
                                        Judge of the Court of First Instance
F                                                                               F
                                                    High Court
G                                                                               G
    Mr George Chu, instructed by Damien Shea & Co., for the Plaintiff

H   Mr Bernard Man SC and Mr Justin Ho, instructed by Anthony Siu & Co.,        H

      for the Defendant
I                                                                               I


J                                                                               J


K                                                                               K


L                                                                               L


M                                                                               M


N                                                                               N


O                                                                               O


P                                                                               P


Q                                                                               Q


R                                                                               R


S                                                                               S


T                                                                               T


U                                                                               U


V                                                                               V
